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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                LUBBOCKDIVISION

UNITED STATES OF AMERICA,
   Plaintiff,

                                                                 NO. 5:22-CR-099-01-H

J. NICHOLAS BRYANT,
   Defendant.


                       SCHEDULING ORDER FOR SENTENCING

       The Court adopts the following schedule for sentencing in this case:

       l.       Sentencing will be on March   9   , 2023   at 10:00 AM in the United States

District Court, 1205 Texas Ave, Lubbock, TX79401.

       2.       The presentence report ("PSR") must be disclosed to the Court, the

defendant, and the attomey for the govemment by or before January           17 ,   2023.

       3.       Any objection or adopfion of the PSR's findings and conclusions must          be

made in writing and electronically filed no later than January 31,2023. The objecrions must

identiff the specific paragraph or part of the parugraph in the PSR to which an objection is

being made.

       4.       If objections affecting the advisory guideline range are made by either party,

the opposing party must elecftonically file a written response to the objections no later than

February 7,2023.

       5.       If written objections to the PSR have been timely made, the Probation Office

must disclose any revision or addendum to the PSR no later than February 14,2023.
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       6.      Any written objections to the PSR addendum must be made in writing and

electronically filed no later than February 21, 2023. objecions musr identiry the specific

paragraph or part ofthe PSR addendum to which objection is being made.

       7.      Any motions regarding deparnrres or variances from the advisory guidelines

range must be filed at least 14 days before sentencing. A11 responses to such motions must

be in writing and filed at least 7 days before sentencing.

       8.      Any other written materials, such    as character letters, other supporting letters,

and sentencing memoranda, must be submitted to the Court atleast 7 days before

sentencing.

       9.      Unless specifically stated otherwise, any order continuing the sentencing in

this case automatically extends the associated sentencing deadlines identified herein.

       10.     In any case in which   18   U.S.C. $$ 3663-64 apply, counsel for the govemment

shall provide to the U.S. Probation Officer, no later than 5 government business days from

the date of this Order, all information necessary for the officer to comply with crime-victim

restitution requirements.

       11.     If, during the PSR investigation, it is determined that Texas Juvenile Justice

Division (TJJD) records are needed, the Court orders the TJJD to release these records to

the Probation Officer assigned to prepare the PSR, acting in the performance of the officer's

official duties pursuant to Fed. R. Crim. P.32. The specific records that are to be released

include documents pertaining to the defendant's social history, court-disposition records,

substance abuse treatment records, psychological evaluations, other mental health ffeatment

records, educational records, general health records, adjustment-while-incarcerated records,

and release dates from the TJJD.
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    SO ORDERED.

    DatedDecembq   L   ,2022.



                                 JAME       SLEY HENDRIX
                                        D STATES DISTRICT JUDGE
